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U.S. Department of Justice

Federal Bureau of Prisons

United States Penitentiary McCreary
330 Federal Way

Pine Knot, KY 42635

 

 

Office of the Warden

September 17, 2020

Richard Kuniansky
440 Louisiana, Suite 1440
Houston, TX 77002

Re: ADAMS, Darrell Wayne
Reg. No. 66135-079

Dear Mr. Kuniansky:

We are in receipt of your letter regarding Darrell Adams, an inmate currently
incarcerated at United States Penitentiary, McCreary. In your letter you are
requesting a compassionate release/reduction in sentence/home confinement,
based on concerns of COVID-19 and his LIFE sentence.

Title 18 of the United States Code, section 3582(c) (1) (A), allows a
sentencing court, on motion of the Director of the BOP, to reduce a term of
imprisonment for extraordinary or compelling reasons. BOP Program Statement
No. 5050.50, Compassionate Release/Reduction in Sentence: Procedures for
Implementation of 18 U.S.C. §§ 3582(c) (1) (A) and 4205(g), provides guidance
on the types of circumstances that present extraordinary or compelling
reasons, such as the inmate’s terminal medical condition; debilitated medical
condition; status as a “new law” elderly inmate, an elderly inmate with
medical conditions, or an “other elderly inmate”; the death or incapacitation
of the family member caregiver of the inmate’s child; or the incapacitation
of the inmate’s spouse or registered partner. Your request has been
evaluated consistent with this general guidance.

The BOP is taking extraordinary measures to contain the spread of COVID-19
and treat any affected inmates. We recognize there are legitimate concerns
and fears about the spread and effects of the virus. However, your concern
about Darrell Adams being potentially exposed to, or possibly contracting,
COVID-19 does not currently warrant an early release from his sentence.

I trust this information has addressed your concerns.

Sincerely,

Gomez
arden
